        Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 1 of 23



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,

              Plaintiff,

       v.                                                      1:16-cr-10096-PBS

DENZEL CHISHOLM et al.,

              Defendants.



              DENZEL CHISHOLM’S SENTENCING MEMORANDUM

                                      INTRODUCTION
   The United States Attorney’s Office has invoked its power to mandate that this

Court sentence Denzel Chisholm to at least twenty years of imprisonment. 21 U.S.C.

§§ 841(b)(1)(A), 851 (2012). This Court has no power or discretion to impose a sentence

shorter than twenty years, regardless of how it views the facts or implications of this

case, the characteristics of the defendant, or the well-established purposes of sentencing.

Contrast 18 U.S.C. § 3553(a). The mandatory sentence of twenty years has no nexus to

Mr. Chisholm’s ability to rehabilitate. See id. § 3553(a)(2)(D). It is not tied to this Court’s

ability to deter the defendant or others from the crime of heroin distribution. See id.

§ 3553(a)(2)(B). And it is nearly five times the fifty-one month average sentence for drug

trafficking in this jurisdiction, despite the § 3553(a)(6) requirement that this Court avoid

unwarranted sentencing disparities among defendants with similar records who have

been found guilty of similar conduct. See U.S. Sentencing Comm’n, Statistical Information

Packet, Fiscal Year 2016, District of Massachusetts, tbl. 7 (Apr. 2017),




                                                1
          Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 2 of 23




https://www.ussc.gov/sites/default/files/pdf/research-and-publications/federal-

sentencing-statistics/state-district-circuit/2016/ma16.pdf.

   The twenty-year minimum is not a product of the stated sentencing objectives of

§ 3553; it is an arbitrary and unscientific doubling of the statutory mandatory minimum

for his crime of conviction. Sentencing Mr. Chisholm to twenty years in prison will

exclude him from his family and from the human experience in ways hard to capture,

and is far greater than “‘a sentence sufficient, but not greater than necessary,’ to achieve

the goals of sentencing.” Kimbrough v. United States, 552 U.S. 85, 101 (2007) (quoting 18

U.S.C. § 3553(a)).

   Time is abstract, but the following attempt to describe the full measure of twenty

years:

        Twenty years ago, Bill Clinton was beginning his second term as President. The

         internet was just starting. There was no Google, no Facebook, no iPods, iPads, or

         iPhones. Boston sports were dismal, with no real memory of championships.

        Twenty years from now, Denzel Chisholm will be forty-seven-years old. His

         triplets, Isaiah, Dantae, and Kaychaun, will be twenty-seven. His youngest two

         children will be in their early twenties.

        Twenty years is 240 months is 7,300 nights locked in a small room. Twenty years

         is 21,600 meals supplied by the lowest bidder and prepared by fellow inmates.

        Twenty years is nearly five times the fifty-one month average for drug trafficking

         sentences issued in 2016 in this District. See U.S. Sentencing Comm’n, Statistical

         Information Packet, Fiscal Year 2016, District of Massachusetts, tbl. 7 (Apr. 2017),

         https://www.ussc.gov/sites/default/files/pdf/research-and-

         publications/federal-sentencing-statistics/state-district-circuit/2016/ma16.pdf.




                                                 2
           Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 3 of 23




      Twenty years is longer than the national average Federal murder sentence for the

       first three-quarters of 2017 (235 months). See U.S. Sentencing Comm’n, Quarterly

       Data Report, 3rd Quarter Release, Preliminary Fiscal Year 2017 Data Through June 30,

       2017, tbl. 6 (Sept. 7, 2017),

       https://www.ussc.gov/sites/default/files/pdf/research-and-

       publications/federal-sentencing-statistics/quarterly-sentencing-

       updates/USSC_Quarter_Report_3rd_FY17.pdf.

   Put simply, twenty years is a very long time. And as explained below, a term of

incarceration no longer than twenty years is an appropriate sentence given (1) the

Guideline calculations, (2) the Congressional intent behind the applicable mandatory

minimum sentences, and (3) the directives of 18 U.S.C. § 3553(a).

       GUIDELINE SENTENCE AND DEFENDANT’S RECOMMENDATION

   The Court should sentence Mr. Chisholm to no more than two hundred forty

months of incarceration. In requesting such a sentence, Mr. Chisholm points to several

factors:

      The criminal history category should be III, not VI as calculated by the Probation

       Office, because three of the sentences relied upon by Probation should have been

       excluded as older offenses committed before Mr. Chisholm turned eighteen. See

       USSG § 4A1.2(d).

      The Government’s evidence does not establish that Mr. Chisholm conspired to

       distribute an amount of heroin that exceeds three kilograms, thus reducing the

       total offense level by two. USSG § 2D1.1(c).




                                             3
          Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 4 of 23




        The Government’s evidence does not establish that Mr. Chisholm was a leader or

         manager of a criminal activity, thus reducing the total offense level by one. See

         USSG § 3B1.1(c).

        The Government’s evidence does not establish that Mr. Chisholm bribed or

         attempted to bribe a law enforcement officer as part of the offense, thus reducing

         the total offense level by two. See USSG § 2D1.1(b)(11).

        Congress intended to create a mandatory minimum sentence of twenty years for

         distributing a kilogram or more of heroin in a single transaction, not spread over

         several transactions. See H.R. Rep. No. 99-845, pt. 1, at 11–12 (1986).

         Consequently, the guideline range1 overstates the penalty that Mr. Chisholm

         should receive, and the Court should downwardly depart from the range. See

         USSG ch. 1, pt. A, introductory cmt. 1(3) (2016).

I.       THE DEFENDANT’S CRIMINAL HISTORY CATEGORY SHOULD BE III
         BECAUSE THREE OF THE OFFENSES RELIED UPON BY PROBATION FOR
         ITS CALCULATION MUST BE DISQUALIFIED UNDER USSG § 4A1.2(D).

     Probation’s criminal-history determination overstates Mr. Chisholm’s criminal

history for two reasons. First, Probation adds points for three offenses committed before

Mr. Chisholm’s eighteenth birthday (see PSR ¶¶ 289, 290, 291) even though they should

be excluded as being too old. See USSG § 4A1.2(d)(2). Second, Probation impermissibly

relies on an excluded sentence as a predicate offense for purposes of determining Mr.

Chisholm’s career-offender status. See USSG § 4B1.2(c). As explained below, Mr.

Chisholm requests that the Court find that his record calls for no higher than a criminal-

history category of III.


1Based on Mr. Chisholm’s calculations, the guideline range is 324 to 405 months. This
range is based on a criminal history category of III and a total offense level of 39. See
USSG ch. 5, pt. A.


                                               4
        Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 5 of 23




    The three pre-eighteen cases (PSR ¶¶ 289, 290, 291) concluded long before Mr.

Chisholm commenced the instant offense, and must therefore be excluded from the

criminal-history analysis. Under the Guidelines, offenses committed prior to a

defendant’s eighteenth birthday may only be count toward a criminal-history score if

the offense “resulted in adult sentences of imprisonment exceeding one year and one

month, or resulted in imposition of an adult or juvenile sentence or release from

confinement on that sentence within five years of the defendant’s commencement of the

instant offense are counted.” See USSG § 4A1.2 cmt. 7; § 4A1.2(d). A careful examination

of the PSR shows that none of the three cases should count because the relevant periods

all lapsed before Mr. Chisholm joined the charged conspiracy in early 2015.2

    The oldest of these cases is a May 4, 2005 delinquency finding against Mr. Chisholm

for an attempt to steal a bicycle. PSR ¶ 289. Mr. Chisholm committed the offense when

he was 14 years old. Id. Although the Barnstable County Juvenile Court committed Mr.

Chisholm for more than sixty days, he was released on January 24, 2008. Id.

    The second oldest case is an August 8, 2007 delinquency finding against Mr.

Chisholm for malicious destruction of property and furnishing a false name. PSR ¶ 290.

Mr. Chisholm committed the offense when he was sixteen years old. Id. The Barnstable

County Juvenile Court committed him for more than sixty days. Id. Mr. Chisholm went

home on January 24, 2008. Id. Probation allocated two criminal history points for this

case pursuant to its reading of USSG § 4A1.2(d)(2)(A). See PSR ¶ 290.

    Neither of these two cases may count because Mr. Chisholm committed the offenses

prior to his eighteenth birthday and was released from confinement more than five

years before the commencement of the instant offense. Section 4A1.2(d)(2)(A), which

2Although not reflected in the PSR, the evidence at trial showed that Mr. Chisholm did
not join the conspiracy until early 2015.


                                            5
        Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 6 of 23




Probation relies on to allocate two criminal history points for each of these offenses,

states two points should be added “for each adult or juvenile sentence to confinement

of at least sixty days if the defendant was released from such confinement within five years of

his commencement of the instant offense.” See USSG 4A1.2(d)(2)(A) (emphasis added).

Although the instant conspiracy may have begun on or before January 24, 2013—five

years after Mr. Chisholm’s release from confinement in these two cases—there is no

evidence that Mr. Chisholm joined the conspiracy until after July 2014. See PSR ¶¶ 292,

332 (indicating that Mr. Chisholm had been incarcerated from 2010 until July 2014 on a

different offense). Given the age of these cases, they should not contribute to Mr.

Chisholm’s criminal history score. See USSG § 4A1.2(d)(2)(A) & cmt. 7.

   The third of these cases is a case continued without a finding (CWOF) on October 28,

2008. PSR ¶ 291. Mr. Chisholm committed the offense—possession of marijuana with

intent to distribute, a Massachusetts misdemeanor—when he was seventeen years old.

Compare PSR ¶ 291 (listing date of arrest as July 8, 2008), with PSR ¶ 307 (“Denzel

Wilbert Chisholm was born on July 19, 1990”). Mr. Chisholm was never committed for

the offense, and the Barnstable County District Court dismissed the case on September

9, 2009. PSR ¶ 291. Probation allocated one criminal history point for this case pursuant

to its reading of USSG § 4A1.2(f). See PSR ¶ 291.

   This third case does not count because Mr. Chisholm committed the offense prior to

his eighteenth birthday, was never sentenced to confinement, and was sentenced more

than five years before the commencement of the instant offense. Section 4A1.2(f), which

Probation relies on to allocate one criminal history point for this case, does not apply

because Mr. Chisholm committed the offense before turning eighteen. See USSG §

4A1.2(d) & cmt. 7. Likewise, § 4A1.2(d) does not permit the allocation of any criminal-




                                                6
          Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 7 of 23




history points for this offense because the offense did not result in a “sentence to

confinement of at least sixty days,” see USSG ¶ 4A1.2(d)(2)(A), nor was the sentence

imposed “within five years of the defendant’s commencement of the instant offense.”

See USSG § 4A1.2(d)(2)(B). At the October 28, 2008 sentencing, the Barnstable County

District Court imposed no sentence of confinement. See PSR ¶ 291. Five years after this

sentencing—in October 2013—Mr. Chisholm was still in prison for a different offense

and uninvolved in the instant conspiracy. See PSR ¶¶ 292, 332. The offense should

therefore not contribute to Mr. Chisholm’s criminal history score. See USSG § 4A1.2(d)

& cmt. 7.

      Without these three cases contributing to Mr. Chisholm’s criminal history score, Mr.

Chisholm’s criminal history score is five. See PSR ¶¶ 292, 294. He should receive no

enhancement as a career offender because one of the predicate prior convictions that

Probation relies on is the disqualified marijuana CWOF that does not count toward his

criminal history score. See USSG § 4B1.2(c) (requiring that the predicate sentences for

career offender status “count[] separately under the provisions of § 4A1.1(a), (b), or

(c)”). Mr. Chisholm’s criminal history category is therefore III. See USSG ch. 5, pt. A.

II.      MR. CHISHOLM’S TOTAL OFFENSE LEVEL SHOULD BE 39 INSTEAD OF
         PROBATION’S 43.

      Probation’s determination of Mr. Chisholm’s total offense level also overstates his

actual offense level by four3 levels. As explained more fully below, the base offense

level should be 30 instead of 32 to reflect an attributable quantity of less than three

kilograms of heroin; the two-level enhancement for bribing a law enforcement officer




3The full extent of the overstatement is five levels. But because offense level is capped
at 43, Probation’s recommendation is 43 rather than 44. See PSR ¶ 286.


                                              7
        Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 8 of 23




does not apply; and a three-level enhancement, rather than a four-level enhancement,

should apply for Mr. Chisholm’s supervisory role in the offense.

        A.    The Government’s credible evidence does not prove the trafficking of
              over three kilograms of heroin.
   For purposes of sentencing, Mr. Chisholm does not dispute that between one and

three kilograms of heroin are attributable to the conspiracy. Cf. PSR ¶ 272. The issue,

here, instead is what to make of the Government’s allegation that the amount of heroin

exceeded three kilograms and ten kilograms. See Gov’t’s Sentencing Mem. at 9, ECF No.

869.

   To prove that Mr. Chisholm trafficked between three and ten kilograms of heroin,

the Government needs the Court to make a kind of factual compromise. Yet nobody

asserts that the actual, factual amount is between three and ten kilograms of heroin. On

the one hand, the Government—and Probation—argues that Mr. Chisholm was

involved in the distribution of the following amounts of heroin as relevant conduct, in

addition to the 2.227 kilograms accounted for “through controlled buys, seizures, and

intercepted calls”:
Name                                         Amount

Brooke Cotell                                “at least 500 grams” (≥ 0.5 kg)

Richard Serriello                            “9 kilograms” (9 kg)

Stephanie Davis                              “kilograms” (≥ 1 kg)

Anthony Hall                                 “at least 1200 grams” (≥ 1.2 kg)

Total                                        ≥ 0.5 kg + 9 kg + 1 kg + 1.2 kg = 11.7 kg

See PSR ¶ 272. On the other hand, the Government believes that the applicable quantity

range is less than ten kilograms. See Gov’t’s Sentencing Mem. at 11, ECF No. 869; accord

PSR ¶ 274. To sustain that belief, the Government tacitly asks the Court to disbelieve the


                                            8
        Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 9 of 23




testimony—at least in part—that suggests the involvement of the additional 10-plus

kilograms of heroin. See PSR ¶ 272.4

    Instead of compromising, the Court should simply discredit the testimony of these

witnesses (and in the case of Anthony Hall, non-witnesses). Mr. Serriello’s dramatic

flip-flop over the first two days of testimony revealed him to be a willing liar, but Ms.

Cotell and Ms. Davis’s testimony also lacked sufficient indicia of reliability to prove Mr.

Chisholm’s involvement in specific amounts of heroin. To the extent that the

Government relies on this testimony, the Court should discredit it. Unless the

Government seized and tested or otherwise confirmed a substance was an amount of

heroin, the Court should not aggregate the amounts against Mr. Chisholm.

    What remains are the quantities accounted for by the seized and tested heroin,

which total less than three kilograms. See, e.g., PSR ¶¶ 269–71. The Court should

therefore find the base offense level to be the one-to-three-kilogram Guidelines number

of 30. See 2D1.1(c)(5).

       B.     Mr. Chisholm did not bribe or attempt to bribe a law enforcement
              officer, so he should receive no enhancement pursuant to USSG
              § 2D1.1(b)(11).

    The two-level enhancement for bribing or attempting to bribe a law enforcement

officer should not apply because Mr. Chisholm neither bribed nor attempted to bribe a

law enforcement officer. For the unlawful trafficking of a controlled substance, the

Guidelines Manual provides that “[i]f the defendant bribed, or attempted to bribe, a law



4While the sum of amounts reflected in the table amounts to at least 11.7 kilograms of
heroin, some of these amounts overlap with sums seized from those individuals. See
PSR ¶¶ 270, 272. For example, law enforcement seized 400 grams from Mr. Serriello.
PSR ¶ 270. Assuming Mr. Serriello obtained this 400 grams of heroin from Mr.
Chisholm, it is already included in the amount that he testified that he received from
Mr. Chisholm.


                                             9
       Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 10 of 23




enforcement officer to facilitate the commission of the offense, increase [the offense

conduct] by 2 levels.” USSG § 2D1.1(b)(11). The Court should not apply this

enhancement here for two reasons: (1) Mr. Chisholm was not personally involved in

any purported bribe, and (2) the purported bribe was of a correctional officer, not a law-

enforcement officer.

   The sentencing enhancement only applies when a defendant personally bribes or

attempts to bribe a law enforcement officer. Although the Guidelines generally consider

certain acts of coconspirators as relevant conduct for purposes of deciding whether

enhancements apply, the Guidelines may “otherwise specif[y].” See USSG

§ 1B1.3(a)(1)(B). The bribery enhancement specifies that it applies when “the defendant

bribe[s], or attempt[s] to bribe, a law enforcement officer.” Compare USSG § 2D1.1(b)(11)

(emphasis added), with § 2D1.1(b)(1) (specifying its application when “a dangerous

weapon (including a firearm) [is] possessed,” without specifying who possesses the

weapon). Consequently, the enhancement only applies if the Government proves that

Mr. Chisholm bribed or attempted to bribe a law enforcement officer. See United States v.

Lobo, No. 15-cr-174-LGS, 2017 U.S. Dist. LEXIS 102106, *14 (S.D.N.Y. June 30, 2017)

(declining to apply the USSG § 2D1.1(b)(11) enhancement where the Government failed

to establish that the “Defendant himself ‘bribed, or attempted to bribe’ law

enforcement”). On this front, the Government makes no such allegation that Mr.

Chisholm personally conducted the bribe. See Gov’t’s Sentencing Mem. at 7, 9 (Sept. 10,

2017), ECF No. 869. At best, the evidence suggests that Browning Mejia wanted Mr.

Chisholm to pay a correctional officer, but that Mr. Chisholm did not want to make the

payment. See PSR ¶¶ 231–32. Absent evidence of Mr. Chisholm’s personal payment or

attempt to pay a bribe, the enhancement cannot apply. See USSG § 2D1.1(b)(11).




                                            10
       Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 11 of 23




   The enhancement is also inapplicable because Mr. Mejia purportedly paid the bribe

to a correctional officer, not a “law enforcement officer” within the meaning of the

Guideline provision. The Guideline provision does not define “law enforcement

officer,” but other Guideline provisions distinguish “law enforcement officer” from

“correctional officer.” See, e.g., USSG §§ 2P1.1(b)(4), 2P1.2(b)(1). Cf. also USSG § 2C1.1(b)

& cmt. 1 (defining “public official” to include any “officer or employee or person acting

for or on behalf of a state or local government, or any department, agency, or branch of

government thereof, in any official function, under or by authority of such department,

agency”). The 2D1.1(b)(11) enhancement should therefore not apply to bribes targeting

“correctional officer[s]” instead of “law enforcement officers.” Cf. United States v.

Newman, 982 F.2d 665, 673 (1st Cir. 1992) (applying the principle of expressio unius est

exclusio alterius in interpreting the Guidelines). Here, Mr. Mejia targeted a correctional

officer, not a law enforcement officer, for bribery. See PSR ¶¶ 229–32. Because no law

enforcement officer was involved in the bribery, the sentencing enhancement should

not apply. See 2D1.1(b)(11).

       C.     The evidence does not prove that Mr. Chisholm was an organizer or
              leader instead of a manager or supervisor.
   A four-level enhancement for Mr. Chisholm’s role in the offense is unwarranted

where he acted more like a manager or supervisor instead of an organizer or leader. The

Guidelines distinguish between “organizer[s]” and “leader[s]” on the one hand and

“manager[s]” and “supervisor[s]” on the other, with the former receiving a four-level

enhancement and the latter received a three-level enhancement for their respective roles

in the offense. See USSG § 3B1.1(a)–(b). The comments to § 3B1.1 list factors courts may

use to evaluate a defendant’s role, including “the exercise of decision making authority,

the nature of participation in the commission of the offense, the recruitment of


                                             11
       Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 12 of 23




accomplices, the claimed right to a larger share of the fruits of the crime, the degree of

participation in planning or organizing the offense, the nature and scope of the illegal

activity, and the degree of control and authority exercised over others.” See USSG

§ 3B1.1 cmt. 4. An analysis of these factors suggests that Mr. Chisholm was a manager

or supervisor, not a leader or organizer.

    First, Mr. Chisholm did not play a significant role in planning and organizing the

offense because the conspiracy started years before Mr. Chisholm joined. The

Government’s indictment alleged that the heroin conspiracy began no later than in

2011. See Third Superseding Indictment at 2, Mar. 1, 2017, ECF No. 385. As the PSR

makes clear, Mr. Chisholm was incarcerated at the time and was not released until July

2014. See PSR ¶ 332. His involvement, therefore, in planning and organizing the offense

must have been far less than the involvement of the true organizers and leaders who

started the conspiracy.

    Nor does the business of selling drugs necessarily imply that a mid-level supplier

like Mr. Chisholm has extensive control and authority over retail-level distributors.5

The content of the communications between Mr. Chisholm and his customers does not

show a relationship of control. They show customers complaining to him about the

poor quality of the product or asking for more product, communications less indicative

of Mr. Chisholm’s control of these customers than his subservience to them.

Furthermore, the evidence at trial showed that those who purchased heroin from him—

including Mr. Serriello, Ms. Cotell, and Mr. Miller—purchased from others as well. The

fact that customers bought from others suggest that Mr. Chisholm lacked control over



5There are many examples of retailers—like Walmart—who in fact exercise far greater
control over their suppliers than vice versa.


                                             12
       Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 13 of 23




them. Even “fronting” does not imply control; it is simply an extension of credit with a

condition of payment on a later date. See PSR ¶ 109.

   Furthermore, while extensive, Mr. Chisholm’s activity was not as wide in scope as

the Government argues, and the Government’s claim that Mr. Chisholm was the largest

drug dealer on the Cape cannot survive scrutiny. If true, the series of arrests in early

2016 that this case resulted in should have marked a noticeable drop in opioid-related

deaths on the Cape. Yet there were more overdose deaths in Barnstable County in 2016

than in previous years. See Mass. Dep’t Public Health, Number of Opioid-Related Overdose

Deaths, All Intents by County, MA Residents: 2000-2016 (Aug. 2017),

https://www.mass.gov/files/documents/2017/08/31/overdose-deaths-by-county-

including-map-aug-2017.pdf (showing increases in 2016 for nearly every county in

Massachusetts). In fact, the number of deaths in Barnstable Town increased by nearly

seventy percent from 13 in 2015 to 22 in 2016. See Mass. Dep’t Public Health, Number of

Opioid-Related Overdose Deaths, All Intents by City/Town, MA Residents January 2012–

December 2016 (Aug. 2017),

https://www.mass.gov/files/documents/2017/08/31/town-by-town-listings-aug-

2017.pdf. While Mr. Chisholm’s behavior certainly contributed to the opioid epidemic,

the criminal activity attributable to him was not as extensive as the Government wants

the Court to believe. See id. As the overdose numbers evince, others played larger roles,

since removing Mr. Chisholm from the market did little to stop the heroin problem on

the Cape. See id.

   To be sure, Mr. Chisholm managed a few individuals like Ms. Mateo. But

management is not organization under the Guidelines. Because Mr. Chisholm was a




                                            13
          Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 14 of 23




manager not an organizer, he should only receive a three-level enhancement for his role

in the offense. See USSG § 3B1.1.

III.      CONGRESS DID NOT INTEND THE TWENTY-YEAR STATUTORY
          MINIMUM TO APPLY WHERE THE GOVERNMENT MEETS THE
          QUANTITY THRESHOLDS BY AGGREGATING AMOUNTS OVER
          SEVERAL TRANSACTIONS AND DATES.

       With a criminal history category of III and a total offense level of 39, the Guidelines

recommend a sentence of within the 324 to 405 month range. See USSG ch. 5, pt. A. Yet

this sentencing range exceeds what Mr. Chisholm should receive based on Congress’s

intent in implementing the Anti-Drug Abuse Act of 1986 that forms the basis for the

Guidelines range.

       While the Sentencing Commission created the Guidelines largely from empirical

sentencing data, the Commission recognized that certain statutes “required departure

[from the data], as in the case of the Anti-Drug Abuse Act of 1986 that imposed

increased and mandatory minimum sentences.” See USSG ch. 1, pt. A, introductory cmt.

1(3) (2016). Accord Dorsey v. United States, 567 U.S. 260, 267–68 (2012) (describing the

Commission’s process). Here, Mr. Chisholm does not match Congress’s intended target

for the mandatory minimum sentences of the Anti-Drug Abuse Act of 1986. See H.R.

Rep. No. 99-845, pt. 1, at 11–12 (1986); accord 132 Cong. Rec. 27,193–94 (Sept. 30, 1986)

(statement of Sen. Byrd). The Court should therefore depart from the Guidelines and

impose a sentence of no more than two hundred forty months.

       The strict application of the Guidelines against Mr. Chisholm undermines the

Congressional intent to stratify punishment for, on the one hand, “major traffickers, the

manufacturers or the heads of organizations, who are responsible for creating and

delivering very large quantities of drugs,” from, on the other hand, “managers of the

retail level traffic, the person who is filling the bags of heroin … and doing so in


                                                14
       Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 15 of 23




substantial street quantities.” See H.R. Rep. No. 99-845, pt. 1, at 11–12.6 For heroin, the

quantity Congress settled on for these “major traffickers … who are responsible for

creating and delivering very large quantities of drugs” was one kilogram. See id. at 17;

21 U.S.C. § 841(b)(1)(A)(i) (2012). By contrast, one hundred grams of heroin would

trigger the penalty for the “managers.” See H.R. Rep. No. 99-845, pt. 1, at 17; 21 U.S.C. §

841(b)(1)(B)(i). For quantities of heroin, “which if possessed by an individual would

likely be indicative of operating at [these] levels,” these numbers make sense. See H.R.

Rep. No. 99-845, pt. 1, at 12. But for aggregable amounts, they do not.

    If the law allows the aggregation of amounts, even street-level dealers become major

traffickers. Stephanie Davis, an addict, testified at trial that she consumed four to five

grams of heroin a day. If an addict purchases four to five grams per day, she exceeds

the one kilogram mark in less than eight months—a mere two months more than the

time the ATF wiretaps were active in this case.7 In other words, aggregation allows the

conclusion that the dealer selling to this addict is a “major trafficker” under the statute,

even if this addict is the dealer’s only customer. This result goes against Congress’s

intent in establishing the one kilogram threshold. See H.R. Rep. No. 99-845, pt. 1, at 11–

12. To avoid this result, the Court should therefore downwardly depart and impose a

lower sentence than the guidelines recommend.



6 This report from the Committee on the Judiciary of the House or Representatives
recommended the adoption of the Narcotics Penalties and Enforcement Act of 1986,
H.R. 5394, 99th Cong. (1986). See H.R. Rep. No. 99-845, pt. 1, at 1. Congress enacted this
bill, with amendments, as part of the Anti-Drug Abuse Act of 1986. See Anti-Drug
Abuse Act of 1986, Pub. L. 99-570, 100 Stat. 3207-2.
7 This calculation assumes a purchase of 4.5 grams (or 0.0045 kilograms) per day. One

kilogram divided by 0.0045 kilograms per day yields less than 223 days. In a non-leap
year, the two hundred twenty-third day is August 11, which is less than eight full
months into the year.


                                             15
         Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 16 of 23




      Here, there has been no allegation that Mr. Chisholm, or anyone else in the

conspiracy, was a “manufacturer[] or the head[] of [an] organization[], who [was]

responsible for creating and delivering very large quantities of drugs.” See H.R. Rep. No. 99-

845, pt. 1, at 11–12 (emphasis added). Instead, the Government carefully details how

Mr. Chisholm and others were not responsible for creating and delivering very large

quantities of heroin, instead getting their heroin from some other source. See PSR ¶¶

146–50 (describing a purported “resupply of heroin”). In other words, someone else

supplied Mr. Chisholm and his friends, who were at most “managers of the retail level

traffic, the person who is filling the bags of heroin … and doing so in substantial street

quantities.” See H.R. Rep. No. 99-845, pt. 1, at 11–12. As such, the Guideline sentence for

Mr. Chisholm overstates Congress’s intended penalty for heroin trafficking of this

extent. The Court should therefore impose a sentence below the Guidelines range.

IV.      OTHER FACTORS STATED IN 18 U.S.C. § 3553(A) SIMILARLY MILITATE
         IN FAVOR OF A SHORTER SENTENCE.
      One of the professional pleasures of criminal defense comes from learning and

telling a client’s story which theretofore had never been told. But in this case, Mr.

Chisholm’s story has been difficult to learn and tell—not because there is no story about

himself—but because Mr. Chisholm has consistently resisted excusing his actions with

his personal history and characteristics. As amiable and charismatic as Mr. Chisholm is

to his friends and strangers alike, talking about his background simply does not come

naturally to him. One can only surmise that his naturally optimistic disposition has

forced Mr. Chisholm to distance himself from the extraordinary obstacles and

challenges that helped shape the fateful decisions that put him before the Court now.

Yet those very obstacles and challenges also paint a dramatic picture of Mr. Chisholm’s

life, a life that deserves understanding and sympathy even if Mr. Chisholm disagrees.


                                               16
         Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 17 of 23




As explained below, the “nature and circumstances of the offense and the history and

characteristics” of Mr. Chisholm show that Mr. Chisholm was a young man trying to

make the most of an awful childhood who survived in part by making terrible choices.

See 18 U.S.C. § 3553(a)(1). In light of these circumstances, defense counsel requests that

the Court impose a twenty-year sentence, which is no longer than necessary to achieve

our system’s criminal-justice goals.

         A.     Mr. Chisholm’s difficult childhood sheds light on his struggles with the
                law.
      Mr. Chisholm was born to a teenage exotic dancer, her third child in less than three

years. Their house was ill-suited for children, and Mr. Chisholm suffered from lead

poisoning as an infant living there. Before Mr. Chisholm turned four years old, his

father was no longer around, having been sentenced and locked up in state prison on

weapons and drug charges. His mother began living with another man, whom Mr.

Chisholm still calls his stepfather. This stepfather was purportedly a positive influence

on Mr. Chisholm, yet the stepfather and his mother would buy and smoke marijuana at

home even as they struggled with money.

      When Mr. Chisholm was eleven, his stepfather and mother separated when his

stepfather learned his mother had cheated on him. His stepfather moved out. His

mother quit her job.

      His mother was against public assistance. But without a job, she was unable to keep

her five surviving children fed, clothed, and housed.8 From this period, Mr. Chisholm

remembers living in a shelter and having scarce food and clothes.

      As a hungry, poorly clothed, nearly homeless child, Mr. Chisholm struggled at

school. His diagnosed Attention Deficit and Hyperactivity Disorder only made things

8   One of her children—Mr. Chisholm’s half sister Sierra—died of SIDS as an infant.


                                              17
       Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 18 of 23




harder. The school placed him in special education classes, but Mr. Chisholm would

miss class, fall asleep during class when he attended, and otherwise have difficulty

following his teachers’ instructions.

   At fourteen years old, Mr. Chisholm started living on his own when his mother

kicked him out after an argument. He would occasionally move back in with his mother

and family, but tensions within the family made it impossible for him to stay long. He

lived with friends when he could, but he struggled to stay in school. He dropped out in

ninth grade.

   Outside of school, he found solace with friends and built lasting relationships with

many of them. These friends included Mr. Chisholm’s girlfriend Arianna Taylor, who is

also mother to four of his children. They also included Christian Chapman, who lent

clothes to Mr. Chisholm and offered him a place to stay when Mr. Chisholm had

nowhere to sleep at night.

   Unfortunately, without the structure of a functional home life and school, Mr.

Chisholm also fell into trouble. By age sixteen, Mr. Chisholm was serving stints of

confinement in DYS custody for petty offenses. See PSR ¶¶ 289-90. At age eighteen, Mr.

Chisholm was arrested and convicted of trafficking oxycodone. He was sentenced to

imprisonment in state prison, and was not released until he was twenty-four years old.

By then, his triplet sons Isaiah, Dantae, and Kaychaun were already going on five years

old.

   It is within this context that Mr. Chisholm, a felon on parole, found himself trying to

find work to support himself and his family. It is within this context that Mr. Chisholm

reconnected with his friends after his release from prison. It is within this context that

Mr. Chisholm entered the heroin trafficking conspiracy.




                                             18
       Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 19 of 23




   Fundamentally, Mr. Chisholm’s choice to break the law came down to ideas he

inherited from his mother. He did not want to be a burden; he did not want to go on

public assistance. So when his seasonal jobs cleaning houses and detailing cars failed to

pay off, Mr. Chisholm started buying and selling heroin—not out of malice, but out of a

skewed sense of responsibility. And the modest success Mr. Chisholm achieved in the

endeavor reflected his work ethic and interpersonal skills, misapplied as they were in

committing a crime.

   Mr. Chisholm does not approve of this kind of narrative of his life. He sees himself

as fully responsible for his decisions and actions. He even wishes to take the blame for

his friends, since he does not want them to suffer. But this kind of narrative is necessary

to reveal the fundamental values that drive Mr. Chisholm and the kernel of good

amidst a sea of bad. In other words, this narrative suggests that rehabilitation, through

an appropriate sentence, is possible.

       B.     A twenty-year sentence satisfies the retributive, incapacitation, and
              deterrent purposes of sentencing.

   Notwithstanding the Government’s request for a sentence of 420 months, a twenty-

year sentence is sufficient and no longer than necessary, as required under 18 U.S.C.

§ 3553(a).

   First consider deterrence as embodied in § 3553(a)(2)(B). Would a person willingly

commit a crime if facing twenty years, but not if facing thirty-five years? No rational

actor would value that difference meaningfully, and no irrational actor should guide

this Court’s pursuit of deterrence.

   Next is the incapacitation promoted in § 3553(a)(2)(C), and the rehabilitation of Mr.

Chisholm encouraged by § 3553(a)(2)(D). A twenty-year term of imprisonment certainly

accomplishes incapacitation—Mr. Chisholm loses twenty prime years of his life. As for


                                            19
       Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 20 of 23




rehabilitation, if this Court cannot trust the U.S. Bureau of Prisons to “provide the

defendant with needed educational or vocational training, medical care, or other

correctional treatment” within twenty-years, see § 3553(a)(2)(D), there can be no

compelling reason to believe it could accomplish them in thirty-five years.

   That leaves this Court with the retributivist principles embodied in §3553(a)(2)(A).

Retribution is the gravamen of the Government’s sentencing memorandum, which

devotes pages to uncharged conduct and the global issues of the heroin epidemic. The

Government tries to place the national and regional heroin epidemic at Mr. Chisholm’s

feet. But in reality, Mr. Chisholm was a functionary, with his role immediately assumed

by another upon his arrest. Barnstable had a heroin problem before Denzel Chisholm,

and it still has a heroin problem. Mr. Chisholm is not patient zero.

   The facts at trial also belie the Government’s argument that Mr. Chisholm controlled

the largest drug trafficking organization on the Cape. The Government spent months

watching Mr. Chisholm’s every move, listening to his every call, and intercepting his

every text message. The Government converted a slew of addicts and dealers into

witnesses, who then made wild claims about phantom kilos never seen by fleets of law

enforcement and never recovered from buys or seizures. Yet through all this effort, the

Government merely trickled across the one kilogram threshold to trigger their target

mandatory minimum sentence. As for the rest of the heroin that would support the

Government’s claim about the DTO’s size, the only evidence of it rests in self-serving

and contradictory testimony. Because the scale of the offense is far smaller than the

Government claims, the Court’s sentence should likewise by much smaller than the

Government requests.




                                            20
       Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 21 of 23



       C.     A twenty-year sentence would not result in unwarranted sentence
              disparities.
    Finally, a sentence of twenty years would not be an outlier. Section 3553(a)(6)

requires courts to consider “the need to avoid unwarranted sentence disparities among

defendants with similar records who have been found guilty of similar conduct.” See 18

U.S.C. § 3553(a)(6). While defense counsel has found no cases with the exact same

parameters as Mr. Chisholm’s case, many similar cases exist that suggest the

reasonableness of a twenty-year sentence.

    In United States v. Martinez-Tejada, this Court once stated that “I have seen,

unfortunately, drug conspiracies this big in New England but not many. Over 22 years,

not many. This is among the largest I’ve seen.” See Tr. Sentencing Hr’g 43:8–10, United

States v. Martinez-Tejada, No. 15-10224-PBS (D. Mass. Oct. 4, 2016). In that case, much

like here, the Government requested that the Court include drug amounts testified-to,

but never weighed or tested. This Court rejected that request. What remained were

25.57 kilograms of fentanyl and over $1.1 million in cash and laundered proceeds. Even

so, this Court sentenced Mr. Martinez-Tejada to a mere 292 months of incarceration.

    By contrast, Mr. Chisholm’s PSR asserts that less than 2.227 kilograms of heroin

were seized and tested during the entire eight-month investigation, and only $9,215.00

were found when agents arrested Mr. Chisholm. See PSR ¶¶ 261, 269–71. Mr. Chisholm

had less than one tenth of the amount of (the far less potent) heroin,9 and less than one

hundredth of the cash this Court attributed to Mr. Martinez-Tejada when it sentenced

Mr. Martinez-Tejada to 292 months.




9Notably, the drug weight equivalence ratio for heroin to fentanyl is two and a half to
one. See USSG § 2D1.1(c). In other words, one kilogram of fentanyl is treated like two
and a half kilograms of heroin under the Guidelines. See id.


                                             21
       Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 22 of 23




   Although quantities like those found in United States v. Martinez-Tejada are rare, this

Court has resolved many heroin distribution cases involving defendants with high

criminal history scores. In United States v. Peters (10-cr-10247-PBS) this Court found the

defendant to be guilty of heroin distribution and a career offender. The Court imposed

a below guidelines sentence of 144 months. In United States v. Quintana (10-cr-10117-

PBS) this Court found the defendant to be guilty of heroin and cocaine distribution and

a career offender. The Court imposed a sentence of 194 months. In United States v.

Vizcaino (10-cr-10366-PBS), this Court found the defendant to be guilty of heroin

distribution and a career offender. The Court imposed a sentence of 144 months. In

United States v. Carabello (14-cr-10087-PBS), this Court found the defendant to be guilty

of heroin distribution and a career offender. The Court imposed a below guidelines

sentence of 132 months. In United States v. Sanjurjo (14-cr-10324-PBS), this Court found

the defendant to be guilty of heroin distribution and a career offender. The Court

imposed a below guidelines sentence of seventy-six months. These cases show that a

twenty-year sentence would not be extreme and in fact align with sentences this Court

previously imposed in other similar cases. The Court should therefore impose a

sentence no longer than twenty years.

                                     CONCLUSION

   For these reasons, Mr. Chisholm respectfully requests that the Court sentence him to

a term of imprisonment not to exceed two hundred forty months.

                                             Respectfully submitted,

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                                            22
       Case 1:16-cr-10096-PBS Document 877 Filed 09/13/17 Page 23 of 23



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                               CERTIFICATE OF SERVICE
I, Leonard E. Milligan III, hereby certify that this document filed through the CM/ECF
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                                           Leonard E. Milligan III




                                          23
